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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                                       )
  In re: Lordstown Motors Corp. and                                    )     Chapter 11
         Lordstown EV Corporation                                      )
                                                                       )     Case Nos. 23-10831 and 23-10832
                                          Debtors.                     )
                                                                       )


        PARTIAL TRANSFER OF CLAIM OTHER THAN FOR SECURITY
A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee
hereby gives evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other
than for security, of the claim referenced in this evidence and notice.




        Cedar Glade LP                                                     Technology Solutions Anywhere LLC
        Name of Transferee                                                        Name of Transferor

Name and Address where notices to transferee                               Last known address:
should be sent:
                                                                           5966 Lovewood Ct
Cedar Glade LP                                                             Canton MI 48187
600 Madison Avenue, 17th Floor
New York, NY 10022                                                         Court Claim # (if known): 98
Attn: Robert K. Minkoff, President                                         Amount of Claim to Transfer: $191,945.00
                                                                           Date Claim Filed: September 7, 2023

Phone: (646) 979-4083                                                      Phone: (734) 502-7555
Last Four Digits of Acct #:                                                Last Four Digits of Acct #:

Name and Address where transferee payments
should be sent (if different from above):

Phone:
Last Four Digits of Acct. #:

I declare under penalty of perjury that the information provided in this notice is true and correct to the
best of my knowledge and belief.

By: /s/ Robert K. Minkoff                                                  Date: February 13, 2024
        Transferee/Transferee’s Agent


        Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571



                                                                                                                      Local Form 138
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